 Case 1:21-cv-00494-RGA Document 47 Filed 04/22/22 Page 1 of 1 PageID #: 684




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

SIMON TUSHA,                           )
J.T.                                   )
                                       )
                      Plaintiffs,      )
                                       )
               v.                      ) C.A. No. 1:21-cv-00494-RGA
                                       )
PEDIATRIC ASSOCIATES, P.A.             )
ANN M. MASCIANTONIO, M.D.              )
                                       )
                      Defendants.      )

       WITHDRAWAL OF APPEARANCE OF JOSHUA H. MEYEROFF
       ON BEHALF OF DEFENDANT ANN M. MASCIANTONIO, M.D.

         Joshua H. Meyeroff hereby withdraws his appearance on behalf of Defendant

Ann M. Masciantonio, M.D.

                                       MORRIS JAMES LLP

                                       /s/ Joshua H. Meyeroff

                                       Joshua H. Meyeroff (#5040)
                                       500 Delaware Avenue, Suite 1500
                                       P.O. Box 2306
                                       Wilmington, DE 19899-2306
                                       (302) 888-6800
                                       jmeyeroff@morrisjames.com
                                       Attorneys for Defendant Ann M.
                                       Masciantonio, M.D.
Dated: 4/22/2022




13571072/1
